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                           UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF PENNSYLVANIA


STARWOOD CAPITAL GROUP LLC,                        CIV. ACTION NO. 2:14-cv-02351-TJS

                        Plaintiff,                 Judge: Timothy J. Savage

                   v.                              ELECTRONICALLY FILED

1&1 MAIL & MEDIA INC. a/k/a 1&1
INTERNET INC., WORLD MEDIA GROUP,
and JOHN DOE,

                        Defendants.


               PLAINTIFF'S NOTICE OF VOLUNTARY DISMISSAL
        AS TO DEFENDANTS WORLDWIDE MEDIA GROUP AND JOHN DOE


       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A), Plaintiff Starwood Capital

Group LLC (“Starwood”), by and through its undersigned counsel, hereby voluntarily dismisses

Defendants Worldwide Media Group and John Doe from the above-captioned action, without

prejudice.


Dated: June 13, 2014                             Respectfully submitted,

                                                 /s/ Tracy Zurzolo Quinn
                                                 Tracy Zurzolo Quinn
                                                 PA ID No. 71072
                                                 REED SMITH LLP
                                                 Three Logan Square
                                                 1717 Arch Street, Suite 3100
                                                 Philadelphia, PA 19103
                                                 Telephone: (215) 851-8286
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                                                 Attorney for Plaintiff
                                                 Starwood Capital Group LLC
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                                 CERTIFICATE OF SERVICE

                I hereby certify that on this 13th day of June, 2014, I caused a true and accurate

copy of the foregoing PLAINTIFF'S NOTICE OF VOLUNTARY DISMISSAL AS TO

DEFENDANTS WORLD WIDE MEDIA GROUP AND JOHN DOE to be served on the

following:

                                    Via U.S. Mail and E-mail:

                          1&1 Mail & Media Inc. a/k/a 1&1 Internet Inc.
                                   Michael D. LiPuma, Esq.
                               Law Office of Michael D. LiPuma
                                325 Chestnut Street, Suite 1109
                                    Philadelphia, PA 19106
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                                     World Media Group
                               90 Washington Valley Road, #1128
                                    Bedminster, NJ 07921
                                       corp@world.com

                                      World Media Group
                                25 Mountainview Blvd., Suite 204
                                    Basking Ridge, NJ 07920


                                                     /s/ Tracy Zurzolo Quinn
                                                     Counsel for Plaintiff
